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April 10,2018

Dear Customer:

The following is the proof-of-delivery for tracking number 771806608823.


Delivery Information:
Status:                      Delivered                      Delivered to:                Receptionist/Front Desk
Signed for by:               ODIMBA T.                      Delivery location:           CENTRAL DISTRICT FCT
                                                                                         ABUJA
Service type:                FedEx International Priority   Delivery date:               Mar 27, 2018 14:36
Special Handling:            Deliver Weekday



NO SIGNATURE IS AVAILABLE
FedEx Express proof-of-delivery details appear below; however, no signature is currently available for this shipment.
Please check again later for a signature.




Shipping Information:
Tracking number:             771806608823                   Ship date:                   Mar 22, 2018
                                                            Weight:                      8.0 lbs/3.6 kg



Recipient:                                                  Shipper:
C/O MINISTRY OF FOREIGN AFFAIRS                             UNITED STATES DISTRICT COURT
FEDERAL REPUBLIC OF NIGERIA                                 DISTRICT OF COLUMBIA
CENTRAL DISTRICT FCT                                        333 CONSTITUTION AVENUE, NW
ABUJA NG                                                    WASHINGTON, DC 20001 US
Reference


Thank you for choosing FedEx.
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                Case 1:18-cv-00594-CRC Document 12 Filed 04/16/18 Page 4 of 6




April 10,2018

Dear Customer:

The following is the proof-of-delivery for tracking number 771806761183.


Delivery Information:
Status:                      Delivered                      Delivered to:                Receptionist/Front Desk
Signed for by:               OBIMBA T.                      Delivery location:           OF THE FEDERAL
                                                                                         REPUBLIC OF NIGERIA
                                                                                         CENTRAL DISTRICT FCT
                                                                                         ABUJA
Service type:                FedEx International Priority   Delivery date:               Mar 27, 2018 14:36
Special Handling:            Deliver Weekday



NO SIGNATURE IS AVAILABLE
FedEx Express proof-of-delivery details appear below; however, no signature is currently available for this shipment.
Please check again later for a signature.




Shipping Information:
Tracking number:             771806761183                   Ship date:                   Mar 22, 2018
                                                            Weight:                      8.0 lbs/3.6 kg



Recipient:                                                  Shipper:
C/O MINISTRY OF FOREIGN AFFAIRS                             UNITED STATES DISTRICT COURT
MINISTRY OF PETROLEUM RESOURCES                             DISTRICT OF COLUMBIA
OF THE FEDERAL REPUBLIC OF NIGERIA                          333 CONSTITUTION AVENUE, NW
CENTRAL DISTRICT FCT                                        WASHINGTON, DC 20001 US
ABUJA NG
Reference


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